USCA4 Appeal: 19-4374       Doc: 44         Filed: 02/10/2021      Pg: 1 of 1




                                                                           FILED: February 10, 2021

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                                No. 19-4374
                                            (7:17-cr-00105-D-6)


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,


                      v.

        JOSEPH ANTHONY VAUGHT,

                             Defendant - Appellant.



                                                 ORDER


               Upon review of the Government’s unopposed motion to remand this case to the

        district court for resentencing in light of United States v. Singletary, 984 F.3d 341 (4th Cir.

        2021), and United States v. Rogers, 961 F.3d 291 (4th Cir. 2020), the court grants the

        motion. The Government’s motion to dismiss this appeal is denied as moot.

               Entered at the direction of the panel: Judge Wilkinson, Judge Quattlebaum, and

        Judge Rushing.

                                                           For the Court

                                                           /s/ Patricia S. Connor, Clerk
